     Case 3:04-cr-00050-JAG   Document 378     Filed 06/02/05    Page 1 of 10



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA
      Plaintiff(s)
                                                     CRIMINAL NO. 04-50
               v.

 RAFAEL SABINO-MORALES[3]
 DANIEL FELICIANO-RODRIGUEZ[6]
      Defendant(s)



                              OPINION AND ORDER

I.      Factual and Procedural Background

        A.   The Indictment

        On March 11, 2004, the Grand Jury charged twelve individuals,

among them defendants, Rafael Sabino-Morales (hereafter “Sabino”)

and     Daniel      Feliciano-Rodriguez      (hereafter         “Feliciano”)      with

violations to 18 U.S.C. §§ 924(c)(1)(A), 924(o) and 21 U.S.C. §§

841(a)(1) and (b)(1)A), 846 and 860 (Docket No. 34: Superseding

Indictment).1        The   superseding       indictment     has      four       counts.

Defendants Sabino and Feliciano appear charged in Count One which

charges a conspiracy to possess with intent to distribute and the

actual distribution of controlled substances “inside or within one

thousand (1,000) feet of real property comprising a housing facility

owned by a public housing authority.”             This public housing project



        1
         The original indictment was issued by the Grand Jury on January 29, 2004
(Docket No. 2).
  Case 3:04-cr-00050-JAG   Document 378   Filed 06/02/05   Page 2 of 10



                                                                            2

is named “Nuestra Señora de Covadonga” and is located in Trujillo

Alto, Puerto Rico.

     Count One describes the objective, names and means through

which the conspiracy was carried out.        The indictment specifically

describes how the co-conspirators arranged for the purchase and sale

of the controlled substances (cocaine, crack and heroin); how

several residences were used to store, package and conceal the

narcotics and drug proceeds; the use of coded language and aliases

by co-conspirators; mentions the need to coordinate the collection

of the illegal proceeds derived from the sale of drugs; alludes to

the use of firearms to protect the narcotics and the drug point; and

asserts that the co-conspirators “did cause drugs and drug proceeds

to be delivered to various locations in the District of Puerto

Rico.”

     Within the conspiracy count further description is provided of

the role of each one of the co-conspirators.               Specifically, co-

defendants Cristian Villegas (#1), Saúl Flores (#2), Rafael Sabino

(#3) and Gabriel Ayala (#4) are described as the leaders, owners and

“managers/runners”    of   the   drug   trafficking    organization.      Co-

defendant Juan Carlos Rojas (#5) is described as an “enforcer” for

the organization.      Co-defendant Feliciano (#6) along with the

remaining six co-defendants are described as “sellers”. (Docket No.

34, p. 6).

     The time frame of the conspiracy is defined as the period “from
  Case 3:04-cr-00050-JAG   Document 378   Filed 06/02/05   Page 3 of 10



                                                                          3

on or about 1998 . . . and continuing up to the date of this

indictment” (year 2004) (id. at p. 2.)

     The indictment specifically charges twenty-three (23) overt

acts in which all co-defendants engaged between the period of April

2002 through April 2003 (id. at pp. 7-8).

     Defendant Sabino is mentioned in overt act number 21 which

charges that:

           18. On or about April 10, 2003, [3] Rafael
           Sabino-Morales, aka “Cutín,” possessed a sum of
           U.S. currency, proceeds which were derived from
           the   sale   of   controlled   substances,   in
           furtherance of the charged conspiracy.

     Co-defendant Feliciano is specifically mentioned in overt acts
Nos. 3, 4, and 19 which charges that:

           3. On or about November 5, 2002, [6] Daniel
           Feliciano-Rodríguez, aka “Daniel” distributed a
           controlled substance, in furtherance of the
           charged conspiracy;

           4. On or about November 10, 2003, [6] Daniel
           Feliciano-Rodríguez, aka “Danei” distributed a
           controlled substance, in furtherance of the
           charged conspiracy;

           16.   On or about March 30, 2003, 6] Daniel
           Feliciano-Rodríguez, aka “Danei” distributed a
           controlled substance, in furtherance of the
           charged conspiracy.

     Defendant Sabino is also charged in Count II of the indictment

which charges a conspiracy to use, carry or possess a firearm in

violation of Title 18, U.S.C., Sections 924(c) and 924(o). Co-

defendants Villegas (#1), Flores (#2), Ayala (#4) and Rojas (#5) are

also charged in Count Two.
     Case 3:04-cr-00050-JAG     Document 378      Filed 06/02/05    Page 4 of 10



                                                                                       4

        It is specifically alleged that all named defendants, along

with other named but unindicted co-conspirators, did conspire, “on

or     about      1998...to     knowingly,     willfully,          intentionally    and

unlawfully        possess,     use,    brandish,    or   carry      firearms,...”     in

relation or connection to the drug trafficking conspiracy charged in

Count One.

        B.   Defendant Feliciano’s Allegations

        Defendant Feliciano seeks to dismiss the indictment by invoking

the    Court’s      supervisory       authority    to    sanction.     The    defendant

contends       that   the     government’s     failure     to      comply   with   prior

discovery orders warrants dismissal as a sanction.                          (Docket No.

263).

        It   is   alleged     that    the   government     was      ordered   in   three

different occasions to provide information “as to the specific

amount of drugs for which each defendant is being held accountable”.

While defendant contends the government has failed to comply, he

proffers that on June 2, 2005 A.U.S.A Vernon Miles in compliance

with discovery requests responded that “in addition to actual

narcotics seized...”, the government intends to produce “witnesses

who observed the illegal activities of the defendants and were

involved in selling narcotics at the drug point.”                      The government

also provided an interview report, dated June 2, 2004, which had

been redacted to exclude the informant’s name but provided details

regarding co-defendant’s nicknames, date in which some of them
  Case 3:04-cr-00050-JAG    Document 378    Filed 06/02/05       Page 5 of 10



                                                                                    5

joined the conspiracy, quantity and type of drugs sold on a shift or

week, profit, who possessed weapons and identifying those who

provided drug supply for the drug point. Defendant (Docket No. 263,

Attachment #1) Feliciano        while asserting that in such redacted

report he is not mentioned, fails to assert whether from other

information received it has been possible to reasonably ascertain

any drug quantity for which he may be liable.                     Notwithstanding,

establishing such liability remains the government’s burden and this

burden the government shall satisfy at trial.                Thus far, the Court

considers that the government has provided discovery regarding the

existence of the conspiracy, its scope, daily operations of the drug

point and the fact that defendant Feliciano’s role will be more

specifically defined at trial.

     While   defendant      Feliciano    may    not   be     satisfied      for   the

government’s failure to provide the specific drug quantity for which

Feliciano    may     be   accountable,     it   remains      a     fact   that    the

government’s evidence contains videos of drug sales, testimonies of

confidential informants and interview reports (DEA-6) from which the

daily operations at the drug point are depicted and Feliciano’s role

and that of other co-defendants similarly situated may be reasonably

inferred.    Since Feliciano has not placed this Court in a position

to examine other discovery provided by the government, this Court

may not apply the ultimate and drastic sanction of dismissing, an

otherwise    valid    indictment,   absent      evidence         of   prosecutorial
  Case 3:04-cr-00050-JAG    Document 378     Filed 06/02/05     Page 6 of 10



                                                                                     6

misconduct.

     Dismissal of an indictment based on prosecutorial misconduct is

an extraordinary remedy.          Actually, because of constitutionally

mandated independence of the grand jury and the prosecutor, courts

should be reluctant to dismiss an indictment unless for serious and

blatant    prosecutorial       misconduct    that     negatively       affects     the

judicial process.       See: United States v. Laboy, 909 F.2d 581 (1st

Cir. 1990); United States v. Giorgio, 840 F.2d 1022 (1st Cir., 1988);

United States v. Rodriguez, 738 F.2d 13 (1st Cir., 1984).

     Accordingly,      given    the    vagueness     of   defendant     Feliciano’s

assertions    and    the   evidence    before   this      Court,      imposition    of

sanctions is unwarranted and defendant Feliciano’s request for

dismissal of the indictment is DENIED.

     C.      Defendant Sabino’s Allegations

     Sabino    appears     charged     in   Counts    One     (drug    distribution

conspiracy) and Two (conspiracy to illegally possess weapons in

relation to a drug trafficking crime).             Sabino incorrectly asserts

in his motion that Count Two charges him for the illegal “possession

of firearms in relation to a drug trafficking crime” in violation of

18 U.S.C. Sections 924(c)(a)(A) and 924(o).               Sabino seeks dismissal

of Count     Two    asserting   that    after   reviewing      the     evidence    the

government has provided in discovery, it appears that:

     (a)     there are no videos portraying him carrying weapons;

     (b)   Grand Jury testimony, provided on                  January    15,     2004,
           expressly shows he was never armed;
  Case 3:04-cr-00050-JAG   Document 378   Filed 06/02/05    Page 7 of 10



                                                                            7

     (c)   POPR Task Force Agent Anthony Toro-Santana testified at
           the detention hearing he never saw him (Sabino) carrying
           a weapon.

     In view of these facts, Sabino concludes that “the government

sought to charge the defendant with possession of firearms...without

probable cause” and thus “[T]his could constitute prosecutorial

misconduct”.   Accordingly, Sabino requests the            dismissal of Count

II by challenging the evidence before the Grand Jury as insufficient

to support probable cause.(Docket No. 250).

     The government opposed defendant’s request for dismissal of

Count Two clarifying that defendant Sabino stands charged “with a

conspiracy to possess firearms, which overt acts noted one of the

defendants possessed a firearm”.          In its motion, the government

relies on the doctrine that “an indictment returned by a legally

constituted and unbiased grand jury...is valid on its face, is

enough to call for trial of the charge or the merits” citing Lawn v.

United States, 355 U.S. 339 (1958) and Costello v. United States,

350 U.S. 359 (1956). (Docket No. 256). The government further draws

a distinction between defendant Sabino’s specific conduct and his

actions as an individual acting in concert with others, while

actually being aware of the object of the conspiracy and having

knowingly and voluntarily joined the same.

     A review of Count Two of the indictment, as correctly argued by

the government, reflects that defendant Sabino along with four co-

defendants are being charged with a conspiracy to “unlawfully
     Case 3:04-cr-00050-JAG    Document 378    Filed 06/02/05   Page 8 of 10



                                                                                      8

possess, brandish, or carry firearms” in furtherance of a drug

trafficking offense.

        It is a firmly established principle that “[a]n indictment

returned by a legally constituted and unbiased grand jury, … if

valid on its face, is enough to call for            trial of the charge on the

merits.”       Costello v. United States, 350 U.S. 359, 363 (1956).

Indeed, an indictment that is valid on its face cannot be challenged

on grounds that the grand jury acted on the basis of inadequate or

incompetent evidence. United States v. Calandra, 414 U.S. 338, 344-

45 (1974) (“[T]he validity of an indictment is not affected by the

character of the evidence considered.”). These principles have been

applied by the First Circuit in prohibiting challenges to a facially

valid indictment.        See United States v. Maceo, 873 F.2d 1, 3 (1st

Cir. 1989).       In Maceo, the First Circuit stated that “[a] court

should not inquire into the sufficiency of the evidence before the

indicting     grand   jury,    because   the    grand    jury   proceeding       is   a

preliminary      phase    of    the   criminal     justice      process    and    all

constitutional protections will be afforded during trial.”                     Id. at

3.    If such inquiries were allowed, the defendants, the government

and the court would be forced to bear two trials.

        In this case, Sabino’s motion to dismiss presents a challenge

to the sufficiency of the evidence considered by the grand jury in

returning the indictment, specifically as to Count II.                         Such a

challenge is improper.
  Case 3:04-cr-00050-JAG    Document 378         Filed 06/02/05    Page 9 of 10



                                                                                          9

     Here, there is no allegation that the grand jury was illegally

constituted     or   biased.        Additionally,      the    indictment         returned

against   the    defendants         is   facially     valid       because    Count       II

particularly     tracks    the      language     of   18   U.S.C.      §   924    and   is

sufficient to put defendant on notice as to the charges brought

against him.

     Defendant Sabino may not challenge the sufficiency of the

government’s     evidence      by   means   of    a   motion      to   dismiss.         The

government bears the burden of establishing the elements of the

offense charged.        If after the government’s case-in-chief, the

government fails to satisfy its burden, including the burden of

presenting sufficient evidence, defendant Sabino may renew his

motion and or resort to other procedural mechanisms to enable proper

evaluation of the evidence by the court.

     In light of the aforementioned, defendant Daniel Feliciano’s

Motion to Dismiss the Indictment (Docket No. 250) is hereby DENIED,

and defendant Rafael Sabino-Morales’ Motion to Dismiss Indictment

(Docket No. 263) is hereby DENIED without prejudice.

     IT IS THEREFORE ORDERED,

     At San Juan, Puerto Rico, on this 2nd day of May, 2005.




                                               S/ Jay A. Garcia-Gregory
                                               JAY A. GARCIA-GREGORY
Case 3:04-cr-00050-JAG   Document 378   Filed 06/02/05   Page 10 of 10



                                                                         10

                                        United States District Judge
